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Plaintiff, W,D, O"r" TN, F'J}twlFJHlS

VS. Case Number 2:01€R20172-Ol-D

THOMAS WILLIAM POWELL
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November l, 1987)

The defendant, Thomas William Powell, was represented by Mary Catherine Jermann,
Esq.

It appearing that the defendant, who was convicted on March 14, 2002, in the above
styled cause and was placed on Supervised Release for a period of two (2) years and has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau

of Prisons to be imprisoned for a term of eight (8) months.

The defendant is remanded to the custody of the United States Marshal.

Signed this the aziz day of April, 2005.

ERNICE B. DONALD
UNITED STATES DISTRICT JUDGE

Defendant's SS No.: XXX-XX-XXXX
Defendant's Date of Birth: 09/28/1973
U.S. Marshal No.: 15791-076

Defendant's Mailinq Address: In Custodv

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Timothy R. DiScenZa

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Honorable Bernice Donald
US DISTRICT COURT

